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91.

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8/31 9/1: harassed by associates of RAP. PO EBRIGHT PO RAMAN and PO Ehlers
respond and tell me I should move out of neighborhood, they harass me about associating
with ‘these people in this neighborhood’ and refuse to take my complaint. Ebright tells

me he hopes he responds to one of my complaints one day and ‘finds me lying on the
sidewalk in front of my brownstone with a knife in my back.’

9/24/11 In the wake of the ten-year anniversary of the tragedy of 9/11 the city erupted
with violent clashes between Occupy Wall Street protestors and the NYPD. The whole of
the city was on edge. I had called police after being man-handled by an over-zealous man
in a bar and been humiliated by the officers who arrived. After the officers refused to take
report I walked away and said “Ya’ll should go fuck yourselves you don’t help anyone.” I
did not scream this at the top of my lungs: I said it as I turned to walk away overwhelmed
with despair and tears rolling down my face and was apprehended forcefully from behind
causing bruises to my entire body.(Exhibit # 10 Injuries sustained from Police beating
Officer Winters of Midtown South)

My injuries were sustained as I was tackled from behind by the police that evening, hog-
tied and dragged to a police cruiser (please refer to photographs provided in exhibit #10)
and ambulance workers were called to the 20" precinct to examine me. I had called 911
and then ended up black and blue. My lawyer spent months trying to subpoena all
relevant video and audio material. When the tape finally appeared it had been tampered
with omitting the exchange outside the midtown bar where I beseeched officers to taker
my 61 report and they summarily dismissed me. Eventually when the full un-edited tapes
arrived in court months the officers all lied and said that I had screamed at the top of my
lungs “Fuck you” even though the video does not show this nor did the officers report
this in their CCRB interviews or make any notation of it in their logbooks (Exhibit#19
CCRB audiotapes and Exhibit #20 officer logbooks). In fact when questioned directly
about the actual words that came out of my mouth by the CCRB the officers actually
can’t remember what I said/when I said anything specifically.

On September 24, 2011 I was propositioned by a man at a bar and I rebuffed his
advances. The gentleman as it turns out was the owner of the bar and was upset at the
way I turned him down. He put his hands on me and I told him he had no right to touch
me. The spat escalated and he had his bouncer grab me and throw me out of the bar
injuring me as I was tossed through the door. My chest was sore and beginning to bruise
and I know NO ONE is allowed to put their hands on me so I called the police to report
the incident (see video inside bar).

When the police arrived the lead officers ignored me and marched into the bar to talk to
their buddies (apparently the bar is only a block away from the 14" pet. and they frequent
the place).

Without listening to my side of the story the officer in charge, Matthew Winters, told me
“to keep it moving” that he wasn’t doing anything to record the menacing, assault, and
harassment I had just encountered. I told the officers they are not allowed to refuse to
take my 61 report and that I would be making CCRB and IAB reports about their
misconduct and callous regard for my safety. I was upset and J turned to walk away I was
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97.

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crying and I said to the officers: “Ya"ll don’t help anyone ya'll should go fuck
yourselves.” (see video outside bar)

I proceeded two steps away from the group of four cops and from behind me and without
warning Officer Winters tackled me to the ground by kneeing the back of my right knee
and forcing me to collapse. He also grabbed my upper arms so hard literally each of his
fingers made a bruise in my flesh. You can make out his handprints in the flesh of my
upper arms (see attached photos and the bruise in the back of my right leg among others
see exhibits # 10.)

I woke up hours later in a jail cell literally covered in bruises with officer Winters
standing over me. He told me that I was arrested for disorderly conduct and that he had
gone through my purse and found a few small dime bags of weed that I had as well as
several condoms. He said that he was throwing the weed out as a favor to me and
expected me “to do him a favor in return.” He suggested that I don’t report my injuries
incurred during arrest and that “things would go in my favor.” He also asked why I had
so many condoms. J told him I was headed to a swinger’s party that evening and he
informed me he could have me also arrested on suspicion of prostitution and intent to
distribute marijuana but that he was “being a nice guy.” I listened to him with doubt and
astonishment as I rubbed at my swollen wrists, hands and several dozen bruises all over
my body. I was furious. Since when does a woman in NYC who calls the police for help
B/C SHE has been harmed wind up incarcerated and beaten by the cops responding to her
call for help?

ADA Kenya Wells caught the case. At that time another drawn-out case maliciously
filed against me by Mr. Wells was pending over me. Mr. Wells kept insisting that I had
made false reports to the police about my ex-boyfriend, Raheem Powell who had been
beating me and subjecting me to economic, emotional, and physical abuse. I was
charged after I went to the police for help to get him away from me because of my ex’s
relationship with the precinct as a confidential informant. He was a key witness ina
murder, an attempted murder and several gang-related cases that were in-motion already
so the police and Mr. Wells threw me to the wolves instead of assisting me at the darkest,
bleakest, most helpless moment in my life. That case against me was eventually dropped
after I stood in court for two years with the scars on my body burning under my dress as I
repeatedly was called a fabricator in the I-DV court part. Mr. Wells had already made
poorly-investigated conclusions about my other case (again similar scenario with him—
no investigation just jumping to conclusions based on his own gut). Eventually that case
was dismissed and sealed after I rejected every offer Mr. Wells through at me to try to
cover up his errors. Mr. Wells had a special vendetta against me because he was
forced to drop the (329 incorrectly charged and malicious) charges he had filed.
When it came time for trial for my disorderly conduct case Mr. Wells was prepared
to do whatever it took to win: his reputation and his personal vendetta against me,
a domestic violence survivor, a 911 survivor, and a 4" generation New Yorker was
at stake.
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100. SETTING THE SCENE: September 24, 2011 was an emotional time for me. It
was shortly after the ten-year anniversary of the 911 attacks that I had survived by
running for my life away from the towers and everything I had built for myself had
subsequently unraveled around me because of the ineptitude and hubris of this young,
untrained, sloppy District Attorney who had thrown me in Rikers island on Mothers’ day
after I miscarried my child and turned my life upside down. I had spent all weekend with
a friend of mine, Lewyn Pogue, a member of SPECIAL FORCES NAVY SEAL TEAM
6, who was in town to swim in the “Little Red Light house Race” to raise money for the
families of his friends who had died in an horrible attack on their helicopter in
Afghanistan earlier that summer. It was the deadliest attack to date in that war and our
emotions were high. I had been crying all day for the most part. I had nothing left inside
of me. I wanted to sit down and have a drink quietly somewhere before moving on to a
party that night. Coincidentally the cops were twitchy. The entire city was on red-
alert because the Occupy Wall Street marchers had violently clashed for the first
time that morning with police and many members of the 14" pct. had been involved
in crowd control. The cops were agitated and twitchy. The bruises literally covering
my body were a by-product of their sour mood. Lewyn can testify to the fact that I had
nary a bruise on me when he left me half an hour before I strolled into the Stitch bar on
W 37" st where I was assaulted. I had also had dinner at a place in Midtown I go to often
and the bartender can also aver that I had nary a bruise on me while she served me my
Cobb salad and coffee. I’m happy to provide you this information should you need it.

101. Mr. Wells didn’t even investigate the case: My Lawyer, Benjamin Dell from
Legal Aide, spoke with Mr. Wells after the arrest and before my first court appearance.
Mr. Wells didn’t know that I had called 911. He said to my lawyer that in fact the
incident had happened because the police had come upon me screaming and simply
arrested me. When my lawyer, Benjamin Dell, suggested to Mr. Wells that there are 911
calls of my calmly requesting for police assistance Mr. Wells seemed panicked. He was
also informed that there were video cameras all over the bar that would corroborate my
story and it was suggested that he drop the case because the police had beaten me badly
and I was a woman who had called them for help. Mr. Wells refused and scrambled to
try to reconcile the way he wanted to paint the events of the evening to get a conviction.
He knew he couldn’t prove that a crowd had gathered or that I had blocked traffic on the
sidewalk if the video was shown at trial. He then embarked on a campaign to keep the
video tapes of the events from surfacing. Please pull the Part A transcripts for the case
and pay careful attention to how many times Mr. Wells argues with the judges (on more
than one occasion) about the lack of necessity of attaining the video tapes. In one
instance the Judge in the court part remarked that she is surprised that Mr. Wells didn’t
already have the tapes in his possession and that he doesn’t feel they are relevant! Isn’t it
the DAs DUTY to investigate? Isn’t failing to do so an egregious error that allows for
the breakdown of prosecutorial immunity? Is this not being taught to young ADAs in
the Manhattan District Attorney’s office? We (Mr. Dell and I) had asked Stitch bar for
the tapes and they had refused. Instead we subpoenaed them from the CCRB as I had
made a CCRB complaint as soon as I was released from jail. Graham Daw at the CCRB
can attest to the fact that the bar sent over edited versions of the video tapes first that
omitted all interaction I had with the police outside the bar. Why would the bar do this?
Someone needs to ask the owners of Stitch bar if they were instructed by the police or by
Mr. Wells to do so when they have to answer under sworn testimony. Eventually the
correct tapes were sent to the CCRB and Graham Daw on passed them to the court. This
caused MUCH consternation, huffing, puffing and pouting at each new court date when
they didn’t appear as Mr. Wells wanted to press on for trial. Surprise: the tapes were
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mysteriously LOST in the courthouse for months after they arrived. Please note the court
transcripts where My lawyer asks for a delay in trial until the tapes can be found by the
Part A clerk and please note Mr. Wells insistence that the trial go forward without the
tapes. The judges kept asking Mr. Wells why he had not pulled the tapes to begin with
and Mr. Wells simply kept averting the questions. The plain truth is that he HAD to have
already pulled the tapes and they did not corroborate the Police’s version of the story that
would allow him to take me to trial and justify his pursuit of the case against me so he
tried to keep them out of our hands and the hands of the court. He stated MANY times
on record that he had never seen the tapes. I would be very interested if your conviction
integrity officers can compare records of when he got a hold of the tapes at the DAs
office and then compare that information with Mr. Wells’ statements in court. He claims
the first time he saw the video was in late Sept/early Oct of 2012. I sincerely doubt his
honesty concerning his statements to this effect. I would bet dollars to donuts that Wells
had the video tapes in hand in late 2011 or early 2012.

102, In each of the three interviews the CCRB conducts with three of the four
officers who responded to my 911 call there is a different story told than the
manufactured, glossed, coached and clean version that Mr. Wells helped the officers
recapitulate on the stand at trial. Please listen to each of the interviews. Not one of
the officers states that I raised my voice and screamed at a level 10 out of 10 being the
loudest a human voice can possibly make during their CCRB interviews. In fact the
officers don’t even recall what I said as I walked away from them. But MAGIC! —when
Mr. Wells called them to the stand they ALL say that I screamed “FUCK YOU” at the
top of my lungs to the cops. How strange: magically over a year later all three cops’
stories changed and were consistent! There must be a magic memory pill in the water at
the 1 Hogan Place witness lounge! A few weeks after the incident when the officers
were questioned by CCRB inspectors there was not a narrative consensus about what I
said or how I said it but over a year later at trial all of a sudden each officer magically
remembers that I screamed at the top of my lungs “fuck you?” I find this incredulous.

In addition to the lack of consensus about events stated in recorded CCRB interviews in
NONE of the officer’s log books is any sort of notation that I screamed aloud or that even
recounts what I said. One would logically think that this information had it really
occurred would have been recorded in the log books OR remembered tn the CCRB
interviews.

103. The fourth Police officer, a young, Caucasian, female officer was never
interviewed or called to testify. We need to get her version of the story. Her name was
Officer . She was Maladano’s partner that evening and when I saw her
in the pct the next afternoon as I was being !ed to a waiting van to be transported to the
tombs for arraignment and booking she looked disgusted to see the amount of bruises all
over my body caused by the brutal arrest by Officer Winters. Her CCRB interview,
logbooks and statements about the incident are SUSPICIALLY ABSENT FROM THE
OFFICIAL RECORD.

104. The video tapes show that a crowd NEVER gathered to witness “the spectacle I
[sic] was making.” Please review. The cops all say different-sized clusters of people
were standing just out of camera sight in their CCRB interviews in different places.
NONE of their statements to the CCRB is consistent with what they claimed at trial.
Please make note of time-stamps: xyz on the video tape and abc on the ccrb interviews.
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105, In November of 2011 My Legal Aide Attorney, Benjamin Wells, attempted to
turn in a motion to the court asking the judge to dismiss the case against me as other
cases had recently been dismissed of similar circumstances when constituents in NYC
had said anything similar to “fuck yourselves” to NYPD. The ADA standing in the court
part literally said: “Your honor I need you to know that Miss Price is considered a
DANGEROUS person as she currently has over 300 counts of DOMESTiC VIOLENCE
pending against her upstairs in Judge Dawson’s I-DV court part.” There was an audible
gasp from the judge and gallery and the Judge dismissed Mr. Dell’s motion based on this
assertion. The ADA intentionally made it sound as if I had been abusing someone
physically instead of the other way around. To what ends to these lies serve? How dare
the District Attorney’s office enter intentional falsehoods and misleading lies onto the
court record. These liabolous statements caused me creat injury and when I get a hold of
the transcript I will be adding this ADAs name to the list of persons guilty of crimes
against me in a revised complaint to NY Supreme Court.

106. The conviction revolved around Mr. Wells’ LIE about the tone of my voice. He
coached the cops to say that I screamed at the top of my lungs at a level TEN (being the
loudest a human voice can possibly make according to Wells). Never had the cops made
this statement before to any interviewer of the CCRB or in their log books. The reason
Mr. Wells had to coach the cops to LIE is this is the only way he could win the case.
This is why he didn’t want the video tapes introduced into evidence. He did not want to
have to suborn perjury but was forced to do so to win the case and tried everything in his
power to avoid this. There simply is no other explanation for his reticence in presenting
the tapes to court.

107. I was convicted of TWO counts of disorderly conduct as one was for allegedly
screaming and one was for making an obscene gesture but never in court did anyone
mention that I made an obscene gesture in their logs, in their CCRB interviews or at
Trial. This count should most certainly be dropped because it was never proven. Instead
it was merely just bivouacked onto the other charge without any lip-service whatsoever.

108. Mr. Wells started his statements at trial by alleging to the judge that 1am a
“fabricator” and that I had hundreds of criminal charges filed against me because of this
false fact. My lawyer objected stating that these cases were dismissed and sealed and
Wells argued that he could bring up the cases because they supported his theory that I
was a fabricator and that my credibility is allegedly weak. He was so hell-bent on
making me appear to be a lying fabricator that he asked his colleague, ADA Bernard, to
decline to prosecute another man who had hit me outside of a bar on July 28, 2012
shortly before my trial date. That man went on to assault, stalk, masturbate on, and
trespass against several other women in town BECAUSE HE WAS not punished for his
acts against me. Please look up this criminal: Rami Baly. ADA Richendorfer is
FINALLY prosecuting him OVER a full year later for his crimes against me because I
made complaints to the DOI, the IAB, the State Attorney General, Senator Gillabrand,
Councilwoman Quinn, Councilwoman Dickenson, the Mayor’s office, the Borough
President, the Public Advocate, and the New York State Bar Association about how my
right to equal protection under the law had been stripped from me. Mr. Wells couldn’t
have me appear as an innocent defendant in the same courthouse at the same time
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he was trying to paint me as a crazy fabricator in front of the judge to win a
disorderly conduct conviction. So Mr. Baly was set free instead to punch NYPD
officers (he was arrested a month later for assaulting an officer, arrested in
November of 2012 for lewd acts on an Amtrak train, arrested in March of 2013 for
trespassing and stalking, again in May, again in June and again in July of 2013.
Conveniently Mr. Wells aided and abetted Mr. Baly in his crime spree against other
women in the City of New York by tricking his fellow colleague into declining to
prosecute Mr. Baly so that he could paint me as ugly as possible on a fresh
courtroom canvas. Look: this is anathema. Re-read the above paragraph. Mr. Wells
wanted to win against me so badly that he had a colleague sit on a case against a man
who clearly needed to be under psychiatric care and have his dopamine levels regulated
and monitored all in the name of winning against me. Is this really a person you want in
your office? This guy is the JAYSON BLAIR of the District Attorney’s office and
should be arrested himself for malicious prosecution, obstruction of justice, tampering
with evidence and suborning perjury. Because of Wells’ grudge against me many other
women in town were armed by Baly. See below paragraphs detailing events that
transpired on the evening of 7/27-/7/28 2012

109, 10/21/11: Raheem breeches restraining order in front of my home. A report is
finally made on 12/1/11 for Raheem’s breech of restraining order see description of my
attempt to file a report for Raheem’s breech of restraining order detailed above in the
section outlining events that led to me filing and IAB complaint against the DV officers
Rosendary and Simmons above in section II. (Exhibits # 14 & #15).

110. 1/20/12: Attacked by woman named INA who lived across the street in the
white building Raheem’s uncle and cousins dwelled in on 120th near my brownstone.
This woman has known my batterer since he was a child, is a known street walker,
crack/cocaine addict and has had her youngest daughter, Sarde, removed from her by
children’s services. She encountered me as I as walking to the store and began yelling at
me abut how she loved watching people attack and harass me whenever I left my home. I
replied that she was a crack whore who couldn’t even take care of her own children, that
often I had to care for ‘Dee-Dee” (short for Sarde) often when she was too cracked out to
help her own daughter with her homework or when she fell off her bike and needed
bandaging and love. I had even taken her kid to Chucky Cheese with other neighborhood
girls once when I surprised all the little girls on the block with an outing to the restaurant
in September of 2010. Ina became enraged and smacked me in the face with a closed fist
resulting in my front right tooth becoming dislodged and landing on the sidewalk. As
blood spurted from my face and I searched the sidewalk for my missing tooth Ina picked
up a long wooden leg from an old table that still had large protruding nails at the top of it
where it had once been attached to the table top. She began to run at me with this
weapon and the only person on the sidewalk who interfered was the neighborhood UPS
guy, Danny, who jumped off his truck and tackled INA so she would not club me from
behind with the weapon. At that moment a police cruiser passed by and I waved it
down. IT was a Manhattan north It. and his assistant who took my details and said they
would on pass my complaint to the 28 but that I should also call 911 which I did. The
complaint was assigned to Dt. Fontanez who followed up once with me asking who my
assailant was. I gave her first name and address to Fontanez and he mentioned he
couldn’t make an arrest based on that. I deplored him to make an arrest and he drove me
around one night when I saw her walking in the neighborhood but never followed up
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again with me about locating this crazed attacker. I called Fontanez multiple times
reminding him that the statute of limitations on assault is two years and he told me that he
couldn’t do anything because his hands were tied.

111. 4/17/12 attacked in front of home again.

112. 7/14/12, attacked in front of 200 St. Nicholas Ave., around the corner from my
home on way home from store. Hair grabbed and slammed over and over onto pavement
by associates of RAP. Knee damaged bruises all over. called 911 around 200 am in the
morning and P.O, Johns and partner responded, told me they wouldn’t do anything to
help. I insisted it is my constitutional right to make a 61 report and that it is illegal for
the police to refuse to take my report. They gave me an incident slip marked
‘harassment’ around 230 a.m. No one ever called or came by my brownstone to
investigate or follow up. I attempted to get an ID number for my complaint and was
rebuffed again by the mean mousy grey-haired lady who assigns these numbers in the
28th pct.

113. 7/25-7/25 2012 (Late night/early morning on the 25") 7/27-7/28 2012 (Late
night/early morning on the 28") Incident at Soldier McGee’s Bar. See Exhibit #1 photos
dated 7/28/12 In this case the man who attacked me (incident #2012-020-2969), was let
go by the 20" precinct and he continued to stalk, flash, and trespass and terrorize other
women in town. The same man who attacked me on 7/28/12 went on to continue to
terrorize women in NYC.)

Summons Appearance

 

 

 

 

Defendant # DENKs Court A Wtarece uae
2013NY031505 pay, Rami 08/07/2013 New York A
Criminal Court
2013NY049135 Baly, Rami 08/07/2013. New York A
Criminal Court
2013CN000347 Baly, Rami 08/02/2013. New York A
H Criminal Court
\?

139.Mr. Baly went on to assault, stalk, masturbate on, and trespass against several other

women in town after he was not punished for his acts against me. Instead, Mr. Baly was
set free by the 20" precinct’s Detective Galan to purport other crimes on the public: he
was arrested in November of 2012 for lewd acts on an Amtrak train, arrested in March of
2013 for trespassing and stalking, again in May, again in June and again in July of 2013.
The system itself aided and abetted Mr. Baly in his crime spree against other women in
the City of New York. Mr. Wells needed to win against me: a colleague of his sat on a
case against a man who should have been arrested and penalized for his behavior as well

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as under psychiatric care.

140.OVER A YEAR LATER charges were subsequently brought against the man, Rami
Baly, (New York Criminal Court case #s 2013NY031505, 2013NY049135, and
2013CN000347) the same man who attacked me on 7/28/12. All other crimes Mr. Baly
was charged with occurred after Baly attacked me and was allowed to walk free out the
back door of the 20th precinct without arrest in August of 2012. Baly proceeded on a
crime spree against women that ran from the fall of 2012 to the summer of 2013. On
numerous occasions the detectives and the other ranking members of the 20th precinct
(Lt. Carbone) informed Price and her advocate, Kerri Toner, from Saint Luke’s
Roosevelt Hospital’s Crime Victims Center/Connect NYC that the reason that Mr. Baly
had not been arrested was that he could not be located. Mr. Baly had paid with a credit
card that evening at Soldier McGee’s bar and the DAs office refused to request a
subpoena from the court to attain his billing information so that he could be
apprehended.

141.When Mr. Baly returned to the bar on or about August 25" of 2012
approximately a month after assaulting me staff members alerted the
20th precinct and he was apprehended. When he was approached by
officers in the bar he acted disorderly, allegedly fought with officers
and resisted arrest. He was arrested (case # 2012NY067321) and
released and given “time-served” but not charged with the assault
against me. The detective assigned to the case, Galan, pretended Baly
could not be located even though this was not the case. Galan had
been told by the MDAO that they would NOT press charges against
him and to NOT arrest him. He had been arrested already and not
charged with the crime against me but was charged with acting
disorderly and resisting arrest when NYPD approached him to
question him! I pushed the case and my advocate, Kerri Toner, from the St. Luke’s
Roosevelt Crime Victims Center /Connect NYC inquired as to why no photo lineup had
been done after the assault and nor any follow-up was made to trace Mr. Baly after he
was let go as per procedure outlined in the NYPD Patrol handbook (citation needed).

142.Ms. Toner was told that the case was being pursued and Baly could not be located and
she made notes to this effect in her log (see Exhibit #40 ). It was not until after Mr. Baly
had committed other predatory crimes against other women that Baly was arrested for his
assault against me which was over a year after his crime! Baly was arrested on 4/24/13
NINE MONTHS AFTER he assaulted me when he appeared in criminal court to answer
charges of criminal trespass (PL 140.01(a)), public lewdness PL 245.00), and public
exposure of a person (PL 245.01). He had been arrested for these NEW CRIMES
against ANOTHER WOMAN by the 1* Precinct’s Officer Jessica Valle on 4/21/13 for
crimes he committed against Kristyn Abbale. Following the arrest and the issuance of a
desk appearance ticket to Baly for his crimes against me that had happened a year earlier
neither I nor Ms. Toner from Connect NYC/Mt. Sinai & St. Luke’s Roosevelt CVTC
was not informed of his arrest. The first we ever heard of Mr. Baly was when I received
a voice mail message from ADA Laura Higgins (nee Richendorfer) on June 23, 2013
informing me she was investigating the assault. A prosecution of Baly for his crime
against me was initiated on paper, never investigated by Das office (See Exhibit # 41
Statement from Soldier McGee’s Bartender stating he was NEVER contacted by ADA
HIGGENS) but later dropped. The DAs office told the judge presiding over the case that
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they couldn’t locate ME to testify and the case 30-30’d. The bartender who witnessed
events the night of the attack and when the man returned to the bar weeks later was never
interviewed by police. Ms. Higgins informed me that my allegations were too difficult
to prove. HOW WERE MY ALLEGATIONS SO DIFFICULT??

143.10/17/12 While walking home from the subway on 125th street and passing 200 st.

Nicholas Ave I was attacked by someone named Willy who sells Heroin on the stoop of
that building and is an associate of RAP. He jumped me as I was passing his stoop and
threw me onto the ground causing substantial damage to my right knee (see photos
Exhibit #1 photos dated 10/17/12 ). I went to the emergency room and have reports and
follow-ups from my orthopedic surgeon stating that I need knee surgery as a result of
attack (Exhibit #23 ER Report and Orthopedic evaluation). P.O. Longo responded
(shield # 31565) and said they were instructed by desk sergeant not to take my report. I
insisted and they said they would turn in a notation to the desk sergeant about the
incident. I called the desk sergeant and complained No one ever called me to follow up
on this assault. complaint # 2012-28-005194. The first police who responded to my call
said; ‘aren’t you the crazy one we are not supposed to take reports from?” P.O. Longo
and Walker eventually followed up after I called 911 and complained about the first
officers on scéne. P.O. Walker sympathetically stated to me that the District Attorney’s
office had instructed the precinct not to respond to any of my calls. This was Witnessed
by my neighbor, Elizabeth Walker, who is a graduate of Harvard University, Colombia
Law School and a MEMBER OF THE NEW YORK BAR ASSOCIATION. WALKER
PRESSED WILLIAM'S AND LONGO TO TAKE MY COMPLAINT, reminded them
that it is illegal to deny a person police services. Williams commented that the precinct
had been instructed by the District Attorney’s office to not respond to any calls I made
AND THEY took my information and told me nothing would be done eventually. (See
Exhibit #30 Letter from Elizabeth Walker.)

144. On the night of 6/2/2013-6/3/2013 While en route home from the Amsterdam Ale house

on 76th and Amsterdam where I had dinner with a friend of mine I instructed the cab
driver to follow a certain route and he refused. I asked him to stop his cab so I could get
out and instead he locked the doors and sped up. He carried on like this for a number of
blocks while I screamed at him to stop the cab and let me out. I called 911 from the back
of the cab and when we stopped at a red light nearby police from the 28th pct were called
over. Officer Officer was one of these officers and he announced to his partner that I

was not to be given police services or assisted in any way and that he refused to take a
report from me. I called 911 and reported this incident. Surprise, it was never followed
up on.

145.6/2013; while in route to the subway past precinct from my home Detectives from the

28 squad opened their windows overlooking my path up St. Nicholas to the 125th st.
subway station and ‘MOO’ at me as if I were a cow. I called the precinct and
complained to the CO and his assistant immediately.

146. July 2013; while walking my dog near my home I’m given a jaywalking ticket on the
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corner of 120th and St. Nicholas (I have eyewitnesses that will testify that I did not
jaywalk) even though I wasn’t jaywalking. 28th pct cops were rude and condescending.
I fought the ticket in court and won (docket # 2013SN053520).

147.2014: ADA Carolyn Maloney is assigned to represent three ADAs I named on my NY
Supreme Court Lawsuit vs. City of NY. Maloney commits various acts of perjury within
her own sworn court papers in an attempt to mislead the court.

148. June 2014 ADA Maloney in DIRECT CONFLICT OF INTEREST WITH HER
ETHICAL OBLIGATIONS AND VOWS takes on the role of acting as FOIL officer in
response to my FOIA request for all information in my MDAO files. As Maloney is the
attorney representing individuals named in lawsuit how possibly could she fulfill her
legal obligation to provide me with materials I am legally and lawfully entitled to that
would implicate her colleagues in my lawsuit? Who allowed this mewling ingénue to
take on the responsibility of being the same FOIL officer to respond to my request? I
will on pass communications regarding this request separately. I’m still barking mad
that anyone in the MDAO, especially her supervisors Patricia Bailey and Susan Roque
would allow this misdeed and clear violation of ethics and legal standards to take place.
I’m filing a Federal Lawsuit about this matter to be meted out in a court that does not
care that she is the daughter of the very congresswoman who wrote the FOIA legislation
her own child willfully spits in the face of.

149. The Manhattan District Attorney, Mr. Cyrus Vance, Jr., quoted Berger v S, 295 U.S. 78,
88 (1935) in his Recommendation for Dismissal of charges against DSK:

“Along with the substantial power conferred upon prosecutors come unique
responsibilities. Rather than serving only as a zealous advocate on behalf of a
client, prosecutors have a broader set of obligations to the community, the victim,
and the defendant: the [prosecutor] is the representative not of an ordinary party
to a controversy, but of a sovereignty whose obligation to govern impartially is a
complain as its obligation to govern at all; and whose interest, therefore, in a
criminal prosecution is not that it shall win a case, but that justice shall be done.
As such, he is in a peculiar and very definite sense the servant of the law, the
twofold aim of which is that guilt shall not escape or innocence suffer.” HOW
MUCH LONGER MUST I SUFFER MR SCHLANGER?

V. Moving FORWARD: THE MDAO, MISS PRICE,
AND ADVOCACY FOR THE PROFESSION OF
PHOTOJOURNALISM IN NYC.

139.1 have some ideas about how the MDAO can rehabilitate its reputation and restore its
good name in regard to the mess it has caused itself over my case. Many people in town
know about my case, the abusive treatment the MDAO unhanded to me and the

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egregious violations to my Constitutional Rights that took place in its attempt to cover-
up its wrong-doing. It is in this office’s best-interest to correct its own violations, to
institutionalize proper training and to enforce diligent adherence standards of conduct,
fairness, ethics and professional behavior for the people it has in its employ. I would like
to start a dialogue with you about how exactly the MDAO can help restore me to the
status I enjoyed before these malicious prosecutions, unlawful arrests and illegal actions
against me.

140. As a public official Mr. Vance must recognize that his office must hold itself to the same
high-standards of professional conduct that it insists from its constituents. How can this
same office accuse various corporate entities of corporate wrongdoing, mishandling and
various actionable breaches of professional standards when he does not hold his own
employees accountable or attempt to make reparations for their misanthropy?

141. Before these egregious breaches of my Constitutional Rights I was well on my way to
creating a governing body to give safe-harbor to professional photojournalists. 1 want to
continue my work. I believe professional photographers are in danger now more than
ever before and are under attack not only from Digital Media that practices that belittles
and devalues their work but also from professional entities that seek to destabilize the
industry for their own monetary gain. I would like to propose that the MDAO use some
of the resources it has allocated to protect other industries in town (think Stub-hub and
the office created to protect digital entertainment ticket sales) to oversee and protect the
industry and business of photography/photojournalism. The creation of such an office
would:

a. Act as an assertion that the MDAO recognizes the integral work of photographers in
building our society and in recording history.

b. -Acknowledge that NYC is the place where the commerce of photojournalism takes
place more so than any other city in the world.

c. -Assert that there is sufficient need to establish protections and encouragements for
professional photojournalists/photographers because of its SPECIAL
JURISDICTIONAL PRESEDENCE/POSITIONING over the international industry
that is anchored here in Manhattan.

142. The authority that such an office could exercise to its protectees around the globe by
asserting its control here over factions or entities with business addresses in NYC whom
operate oversees potentially could work in many ways.

143. The office would act as a body to advocate for basic professional working rights and
wages and benefits for registered members. For instance it could begin to standardize
fair day rate and space rate and danger pay agreements as well as regulations for royalty
splits and copyright enforcements. Current business practices by Goliath Agencies such
as Getty have endangered the business and asserted egregious working standards on
photographers (i.e. a 70/30 royalty split in favor of the Agency that photographers
HAVE to agree to or else not have their work distributed globally by the largest global
player in the industry.)
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144 It could also work to protect members from threats against their persons as a result of
their journalistic endeavors. Meaning: if a registered member of the office worked say
in a place like Pakistan and was undergoing harassment by authorities while doing
his/her job a member of the office would visit the Pak Mission to the UN here in NY and
have a chat with someone like Shalit Jalal, the Information Minister, with a formal
complaint letter and a course of action plan outlined if actions weren’t taken to exert
checks and controls over such threats.

145, The office would work on specialized legislative projects such as advocating for 9/11
photographers. Many I know are currently outraged that nothing is being done to stop
the illegal distribution of our photographic output by near-do-wells who have illegally
collected them into memory books for sale by legions of street-vendors on the fringes of
Ground Zero. What will happen when the transit hub is opened? Will the same flotilla
of illegal memory-book hawkers flood the area below Calatrava’s beloved firebird and
continue their illegal commerce? Who is coordinating with the City Council to pass
legislation prohibiting illegal sales on hallowed ground? Who is working with the
NYPD to trace the publisher of such books and hold them accountable? Who is
monitoring where the millions of dollars a month being made by such illegal practices is
flowing to? When I last sat near the Millenium Hilton /Centry 21 department store
where the lions share of the books are sold these days I counted over 25 book sales men
all with armloads of books selling for 10.00 to 20.00 USD each (Exhibit #42 photos of
Yemenis salesmen illegally selling 9/11 “memory” books by Ground Zero.) Just a quick
estimate:

average of 100 books/day each @ 15.00 USD = 1000.00 USD EACH per day = 1500
USD/day

20 vendors x 1500 = $30,000.00/day
7 days per week = $210,000.00/week

52 weeks/year = $ 10,920,000.00/year in ILLEGAL 9/11 photo book sales at Ground
Zero ALONE.

I have MANY other ideas and would like to begin a dialogue on how we can bring this very
painful episode to a conclusion and work together to do some good. I very much look forward to

hearing from you Mr. Schlanger. Please take my statements seriously. I’m happy to have this
document notarized if you feel more comfortable knowing my statements are sworn.

Yours,
*Miss Kelly Price

*signed as per the 2000 Federal Digital Signature Act

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Stila PPAR EF

VIA Hand Delivery AND
Electronic MAIL

July 9, 2014

Patricia Bailey

FOIA Appeals Officer

Manhattan District Attorney’s Office
City of New York

One Hogan Place

New York, NY 10013

cc. ADA Christina Maloney, DA Cyrus Vance Jr.

Ref: Appeal of FOIA Request Denial

Dear Ms. Bailey

On June 26, 2014, I filed a Freedom of Information Act (FOIA) request with the MDAO,
requesting all correspondence, memoranda, documents, reports, records, statements, audits, lists
of names, applications, diskettes, letters, expense logs and receipts, calendar or diary logs,
facsimile logs, telephone records, call sheets, tape/audio recordings, video/movie recordings,
notes, examinations, database entries, opinions, folders, files, books, manuals, pamphlets, forms,
drawings, charts, photographs, electronic mail, and other documents and things that refer of
relate to myself, Kelly Price, DOB 11/27/70 ssn 521 55 0356, any and all criminal investigations,
investigatory materials and surveillance logs as well as all audio and video materials in which
my name, voice or image is seen, heard or invoked involving any other persons or entities
within twenty (20) business days. In a response letter dated July 3, 2014, ADA Christina
Maloney denied my request citing that:

“You have filed a lawsuit in New York State Supreme Court (Kelly Price v. the City of New
York, et. Al. Index No. 101414/2013). Your request for documents regarding the underlying
criminal cases is denied, as disclosure would interfere with the pending judicial proceeding.
Public Officers Law § 87(2)(e)((D).”

This letter respectfully appeals the determination of Ms. Maloney. The information
requested under FOJA must be disclosed because the “Judicial Proceeding” exemption of the
FOIA does not apply as the underlying criminal case(s) has/have been dismissed and/or resolved.
The FOIA exemption cited by Maloney [NY State Public Officers Law § 87(2)(e)((D)] provides
protections for information complied for law enforcement purposes and stems from FOIA 5
U.S.C. §552 (b)(7). The intention behind this exemption is to allow agencies to withhold law
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enforcement documents in order fo prevent interference with the en forcement process.
According to FOIA 5 U.S.C. §552 (b)(7):

 

Exemption 7 has six sub exemptions and Exemption 7A protects information because of a
‘Judicial Proceeding’ that could interfere with law enforcement proceedings, thus protecting
ACTIVE investigations. This exemption is applicable only if an investigation is pending or
planned and the release of the information will compromise the investigation.

In the matter of Castle House Dev. Inc. v. The City of New York Justice Schlesinger
states in regard to the NYPD’s denial of petitioner’s FOIA request by citing the same NY Public
Officer Law [§ 87(2) (e) ((D] that: “As far as what was known then and now, there was no
continuing law enforcement proceeding extant and the only known Judicial Proceeding was the
aforementioned tort action in King’s County.” Justice Schlesinger goes on to explain how a civil
action is not the same as a criminal action in seeking to use its existence as a remedy against
disclosing information sought on a FOIA request by labeling the civil action as a criminal one;
“This exemption is not a viable one in circumstances such as this, a pending civil action.” (Castle
House Development Inc. v City of New York Police Dept. 2009 NY Slip OP 51553 (U) [24
MISC 3d 1222 (A)] Justice A Schlesinger 7/10/2009. SUPREME COURT NY COUNTY.

In Maloney’s Motion to Dismiss filed with NY Supreme Court on April 10, 2014 she
states that “The facts below are gleaned from the records of the DA’s Office and recitations
made by plaintiff; however, much of the plaintiff's record is sealed...” Maloney herself admits
in this statement that my record is sealed and thus NOT AN ACTIVE INVESTIGATION and
thus not subject to the “Judicial Proceedings” exemption as she has wrongly and unlawfully
asserted. Additionally in order to successfully assert the “Judicial Proceedings” exemption for a
FOIA request that Agency or Actor asserting the denial must state how the release of the
information will compromise said investigation. Maloney has made no attempt to show in what
way granting my FOIA request would interfere with the civil tort action I have brought vs.
individuals in the MDAO, the NYPD and the City of New York.

Justice Schlesinger goes on to further review and discuss how Judge Kaye of the
Appellant court made it clear in the opening lines of her unanimous Appellant court finding that
in the case of M. Farbman & Sons v. New York City Health and Hospitals Corp et al., 62 NY2d
78 (1984): “Access to records of a government agency under the Freedom of Information
Law...is not affected by the fact that there is pending a litigation between the person making the
request and the agency.” Schlesinger further cites this Court of Appeals decision that: “an
agency’s public records remain as available to its litigation adversary as to any other person...In
the absence of indication from the Legislature, we refuse to read into FOIL the restriction that,
once litigation commences, a party forfeits the rights available to all other members of the
public.”
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Finally regarding the provisions of the FOIA statute and of particular note:

Il. If any responsive record or portion thereof is claimed to be exempt from production
under FOIA, sufficient identifying information (with respect to each allegedly exempt
record or portion thereof) must be provided to allow the assessment of the propriety
of the claimed exemption. Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir 1973), cert
denied, 415 U.S. 977 (1974). Additionally any reasonably segregable portion of a
responsive record must be provided after redaction of any allegedly exempt material
to me, as the law requires. 5 U.S.C. § 552(b).

Il. Ms. Maloney has issued an adverse FOIA records determination in response to my
request and as such she was required to (1) notify the requester of the right to appeal;
(2) identify the appeals officer and the officer’s contact information; and (3) state the
date when the appeal letter must be received by the officer and; (4) address my
request for all fees to be waived. As Maloney failed to satisfy the requirements of the
first, third and fourth FOIA stipulations I have the right to initiate court action
immediately. Please do respond to this FOIA APPEAL in a timely fashion (within
twenty days of receipt of this letter.)

Uy. In order to help to determine my status for purposes of determining the applicability
of any fees, you should know that I am willing to pay fees up to the amount of
$250.00 USD which is a considerable hardship but an attainable one for me. If the
fees will exceed this amount, please inform me before fees are incurred. I can be
contacted via email or telephone if necessary to discuss any aspect of this request.

In conclusion: it pains me greatly as a fourth-generation daughter of the City of New
York to witness the widespread malpractice and disregard for the letter of the laws of our country
that I have been confronted with at every turn in my interactions with the MDAO since
approaching them for assistance in extracting myself from a life-threatening intimate-partner
situation. My family members have fought in wars, I myself have been on the frontlines of
attacks on our nation, and have lost many friends and colleagues who have died in the name of
these same laws that are disregarded, willfully misinterpreted and misappropriated to justify
unlawful actions by the members of the MDAO. Please Ms. Bailey: let this epidemic that has
swept the masses of young, mewling ingénues stocking the brigades of the MDAO stop with
you.

Sincerely,

Kelly Price

534 w 187 st# 7

New York NY 10033

Signed as per the 2000 Electronic Signature Act
Case 1:15-cv-05871-KPF Document 4-9 Filed oB/n AB Rede Na MY

 

DISTRICT ATTORNEY
OF THE
COUNTY OF NEW YORK
ONE HOGAN PLAGE
New York, N.Y, 40019
(212) 334-9000
CYRUS R. VANCE, JR.
DISTRIOT. ATTORNEY
July 16, 2014
Kelly Price
534 W. 187" Street #7
New York, New York 10033

VIA ELECTRONIC AND. REGULAR MALL

Re: F.0.LL. Appeal
Dear Ms. Price:

The New York County District Attorney's Office received your Freedom of Information
Law (F.0.1,L.) appeal, As the F.O.LL. Appeals Officer, I have reviewed our file and am prepared
to rulé on this matter.

You appeal the determination made by. Assistant District Attorney Christina Maloney, the
Records Access Officer assigned to your request, The substance of the argument in your appeal is
that documents from the case files are not exempt under to F.O.L.L. because there is no pending
judicial proceeding. Although ADA Maloney was. correct in her assessment that you have a
periding matter related to the requested cases, it is civil in nature and its disposition will have no
effect on the closed criminal cases you request access to.

As such, | am remanding your original request back to ADA Maloney so that she may
make a de novo determination. The case files will ned to be ordered before she can make a
determination on your request, so allow until August 16, 2014 for her determination or update.

In accordarice with the above discussion, your appeal is dismissed at:this time.

Sincerely,

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Susan C, Roque
Assistant District Attorney
Special Litigation Bureau

cc: Committee on Open Government
Department of State
41 State Street
Albany, New York 12231
